                                                                                                  Hon. Marc Barreca
1                                                                                                        Chapter 7
                                     UNITED STATES BANKRUPTCY COURT
2                               WESTERN DISTRICT OF WASHINGTON AT SEATTLE

3

4    IN RE:                                                              NO. 14-10421MLB

5    CASEY INGELS,                                                       ADV. NO. 14-01387MLB

6                                Debtors.

7
     JOHN S. PETERSON, the Chapter 7 Trustee for
8    the Estate of CASEY INGELS                                          PLAINTIFF’S PRETRIAL STATEMENT

9                                Plaintiff,

10   v.

11   CASEY INGELS,

12                               Defendants.

13

14              Plaintiff, JOHN S. PETERSON as Trustee, presents his Pretrial Statement pursuant to Local Rule 7016-

15   1(b) and this Court’s February 23, 2015 Amended Notice of Trial and Order Setting Deadlines and states as

16   follows:

17              I.      Jurisdiction

18              A. The Court has jurisdiction over this matter pursuant to 28 USC 157 and 1334.

19              B. Venue is propert pursuant to 18 USC 1409.

20              C. This is a core proceeding pursuant to 28 USC 157(b)(2).

21              II.    Claim for Relief.

22

23
                                                                                           JOHN S. PETERSON
     Plaintiff’s Prehearing Statement - Page 1 of 3                                             ATTORNEY AT LAW
24                                                                                                       PO BOX 829
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1             Plaintiff requests denial of the debtor’s discharge pursuant to 11 USC 727(a)(4) and alleges the

2             debtor made a false statement regarding a material fact and that the false statement was made

3             knowingly and fraudulently.

4             III.      Admitted Facts.

5             Plaintiff admits the following facts:

6             1.     The Defendant filed a Chapter 7 bankruptcy petition on January 23, 2015.

7             2. The Defendant amended his bankruptcy schedules and related documents on January 24,

8                    2014, April 18, 2014 and November 17, 2014. In the November 17, 2014 amendment, the

9                    Defendant disclosed the existence of the MJ Ray Ingels Irrevocable Trust and indicated it

10                   was not property of the bankruptcy estate.

11            3. The Defendant appeared at a 341 meeting on March 11, 2014, and provided testimony

12                   under oath at that hearing.

13            IV.       Issues of Law.

14            Did the Defendant knowingly and fraudulently provide false statements under oath at the 341

15            meeting held on March 11, 2014, regarding the funding of the MJ Ray Ingels Family

16            Irrevocable Trust, property at 9830 Dekoven, Lakewood, Washington, transfers of the property

17            to and from the trust and to MJB Consulting LLC and/or his knowledge of MJB Consulting,

18            LLC?

19            V.        Witnesses.

20            John Peterson-PO Box 829, Kingston, WA 98346-360-626-4392-will testify to administration of
              the bankruptcy case and 341 meeting of March 11, 2014.
21

22
              Casey Ingels-PO Box 2242, Tacoma, WA 98401-will testify regarding statements made at 341
              meeting which occurred March 11, 2014.
23
                                                                                         JOHN S. PETERSON
     Plaintiff’s Prehearing Statement - Page 2 of 3                                            ATTORNEY AT LAW
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1
              VI.      Exhibits.
2             Plaintiff intends to seek the admission of the following Exhibits:
3
              P-1 Copies of Bankruptcy Petition, SOFA, Schedules and Amendments-Expect to Offer
4
              P-2 Copies of MJ Ingels Irrevocable Trust-Expect to Offer
5
              P-3 Copy of Deed of Trust related to Dekoven Property signed b Patricia Yu-Expect to Offer
6
              P-4 Copy of Decree of Dissolution-Lincoln County No. 09-00283-0 Expect to Offer
7
              P-5 Copy of Special Warranty Deed conveying Dekoven Property to Yu, Trustee Expect to
8             Offer
9             P-6 Copy of Casey Ingels Deposition, Taken February 13, 2015, Offer if need arises
10
              P-7 Audio Recording of Bremerton 341 Meeting, March 11, 2014. Expect to Offer
11
              P-8 Note signed by Casey Ingels dated December 2, 2009 in favor of Paulson Trust, Expect to
12   Offer.

13          P-9 Declaration of Partrica Yu in Support of Defendant’s Motion for Summary Judgment,
     Expect to Offer
14
             P-10 Declaraton of Gwen Ingels in Support of Defendant’s Motion for Summary Judgment,
15   Offer if need arises
16           P-11 Declaration of Casey Ingels in Support of Defendant’s Motion for Summary Judgment,
     Offer if need arises.
17

18
           P-12 Declaration of Katherine Hanson in Support of Defendant’s Motion for Summary
     Judgment, Offer if need arises.
19
              P-13 Federal Tax Returns of Casey Ingels for 2012 and 2013, Offer if need arises.
20
              Dated May 19, 2015
21                                                         /s/ JOHN S. PETERSON
                                                           John S. Peterson
22

23
                                                                                         JOHN S. PETERSON
     Plaintiff’s Prehearing Statement - Page 3 of 3                                            ATTORNEY AT LAW
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